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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                              CASE NO. 4:04-CR-018-SPM

JONATHAN WILLIAMS,

           Defendant.
_____________________________/

    ORDER EXTENDING TIME FOR GOVERNMENT TO FILE WRITTEN
  RESPONSE TO DEFENDANT’S MOTION TO CONSIDER RELIEF UNDER
                         RULE 35(b)

        THIS CAUSE comes before the Court upon the “Government’s Request

for Extension of Time to Respond to Defendant’s Motion to Consider Relief under

Rule 35(b)” (doc. 92) filed April 4, 2006. The Government requests a ten-day

extension so that further investigation can be made into the determination of

whether to file a Rule 35 motion on Defendant’s behalf.

        Finding the request to be reasonable, it is accordingly

        ORDERED AND ADJUDGED as follows:

        1.    The motion for extension of time (doc. 92) is hereby granted.

        2.    The Government is directed to file a written response to the motion

              on or before April 17, 2006 and discuss whether Defendant is
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                entitled to relief.

         2.     Alternatively, the Government may file a motion pursuant to Rule

                35 on or before April 17, 2006.

         3.     Defendant shall file a reply to the response on or before April 24,

                2006.

         DONE AND ORDERED this fifth day of April, 2006.


                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       United States District Judge

/pao




Case No.: 4:01-CR-029-SPM
